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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

UNITED STATES OF AMERICA                       )
                                               )
               v.                              )
                                               )       Case No. 1:19-mj-188
GEORGIY SERYOGIN,                              )
    a/k/a “George Seryogin”                    )
                                               )
               Defendant.                      )


    DEFENDANT’S RESPONSE TO CONTESTED MOTION FOR A PROTECTIVE
                              ORDER


       Comes now the Defendant, Georgiy Seryogin, by and through counsel Mary M. Nerino,

and respectfully objects to the entry of the Proposed Protective Order in the above-captioned

case. Defendant asserts that certain language in the Proposed Protective Order remains

unsupported by the authorities cited in the United States’ Contested Motion for Entry of a

Protective Order. Defendant specifically objects to the language in Section Five of the Proposed

Protective Order, directing that “Protected Material may not be left in the custody or control of

the defendant. In addition, the defendant is prohibited from reviewing any Protected Material

outside of his counsel’s presence.” Defendant asserts that: 1) the United States does not have a

right to a protective order in this type of case, but instead must rely on the Court’s discretion

after a showing of good cause; 2) the United States has not met its burden to demonstrate good

cause for a protective order in this case, much less an order with these proposed restrictions; 3)

even should this Court ultimately determine that some good cause exists, there are reasonable,

less drastic alternatives than the proposed language that would better serve this purpose; and 4)

the Proposed Protective Order, as written, would unreasonably interfere with the Defendant’s
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ability to prepare and present a full defense at trial. In support thereof, the Defendant states as

follows:



                                          I.      Background



       On April 23, 2019, the government charged the Defendant by criminal complaint with

one count of abusive sexual contact aboard an aircraft in violation of Title 18, United States

Code, Section 2244(b) and Title 49, United States Code, Section 46506(1). See Dkt. Nos. 1-2.

The Defendant turned himself in immediately upon issuance of the warrant. See Dkt. Nos. 6-7.

Defendant was released with multiple pretrial conditions that, among other things, restricted his

movement and prohibited contact with the alleged victim or any other potential witnesses in this

case outside the presence of his attorney. See generally Dkt. Nos. 10-12. Defendant has

continued to follow the Court’s order in relation to his conditions, and maintains contact with

pretrial services in both his resident state of Massachusetts and here in the Eastern District of

Virginia.

       The charge against Defendant stems from an allegation of an incident that occurred some

nine months earlier, on July 27, 2018, aboard an aircraft en route to Dulles International Airport.

See generally Dkt. No. 2. On that date, the Federal Bureau of Investigation (hereinafter “FBI”)

conducted an interview with both the Defendant and the alleged victim in this case. In the nine

months thereafter, the FBI continued to investigate and per the United States’ motion, the United

States “has [since] gathered or generated documents, including electronic records, which contain

confidential and/or sensitive information, including law enforcement sensitive information and

personal identifiers for the victim, witnesses, and/or non-parties in this case.” Pros’n’s Mot. for



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Protec. Order, 2 at ¶ 4. The United States further asserts that, “[t]hese documents and electronic

evidence potentially include, but are not limited to, law enforcement investigative reports,

materials obtained from the 19-year-old victim, and other documents generated by grand jury

subpoena.” Id.

       As the United States notes in its motion, “prior to charging this case, the government

provided Defense Counsel with a limited subset of redacted discovery in an attempt to resolve

the matter pre-complaint and/or pre-indictment.” Id. Per informal agreement, these documents

were furnished to attorney Mary Nerino via email and Defendant was not permitted to obtain or

retain copies of these redacted documents. As directed, Defense Counsel did not share copies of

these documents with anyone outside of the defense team within her firm—even to the exclusion

of Defendant’s local Massachusetts counsel James Lawson, who was hired to help facilitate a

turn-in or local motion should Defendant be arrested in Massachusetts. Per informal agreement,

Defendant was only permitted to view these documents in person or via the video conferencing

application Skype, and was not permitted to copy them for review, resulting in significant time

delays in explanation and review as counsel had to read and re-read documents to convey their

meaning to the Defendant. Ms. Nerino communicated her frustration over the unnecessary

complications of this communication method to Assistant United States Attorney, Mr. Parekh.

Both Defendant and Defense Counsel respected Mr. Parekh’s informal requests, despite the

absence of any protective order.

       Since Defendant was released on pretrial conditions, he returned to and has remained at

his Massachusetts residence awaiting trial. Defendant has faithfully followed the Court Order

regarding contact with the victim or witnesses in this case. Defendant cannot afford to travel to

Virginia every time he needs to review evidence or assist counsel in preparation for trial.



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Defense Counsel therefore communicated to the United States, via email, that this proposed

restriction would not be acceptable and that Defense Counsel could not agree to such restriction,

which brings us to the United States’ Motion on this issue.



                                           II.     Argument

   1. & 2. The United States does not have the right to a protective order in this case, and has
   not made a sufficient showing of good cause to warrant such discretionary order.


       Federal Rule of Criminal Procedure 16(d)(1) provides, in relevant part, that “[a]t any time

the court may, for good cause, deny, restrict, or defer discovery or inspection, or grant other

appropriate relief.” Fed. R. Crim. P. 16(d)(1)(emphasis added). The permissive “may,” limited

by the phrase “for good cause,” imbues the Court with the authority to impose such a protective

order, but only after good cause for such restriction, denial, or deferral is submitted to the Court

in support thereof. Defendant agrees with the United States’ motion to the extent that this Court

should consider the Advisory Committee’s notes on the issue, but would draw the Court’s

attention to the full text of the Committee note on the subsection:

This subdivision gives the court authority to deny, restrict or defer discovery upon a sufficient
showing. Control of the abuses of discovery is necessary if it is to be expanded in the fashion
proposed in subdivisions (a) and (b). Among the considerations to be taken into account by the
court will be the safety of witnesses and others, a particular danger or perjury or witness
intimidation, the protection of information vital to the national security, and the protection of
business enterprises from economic reprisals.

Fed. R. Crim. P. 16 (Advisory Committee's note to 1966 amendment)(emphasis added). The

Advisory Committee emphasizes the importance of good cause, clarifying the requirement for a

“sufficient showing” by the proponent and noting that the purpose of the protective order is to

“control the abuses of discovery.” The Committee further adds the qualifier of “particular” to

danger, perjury, and witness intimidation. Defendant contends that this “good cause” language of

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the Rule, coupled with the Advisory Committee language, creates a requirement, at a minimum,

for a sufficient specific showing by the United States. For example, should the United States

claim witness safety is an issue, it must show a particularized basis for a risk of witness safety or

intimidation to require a protective order on those grounds. The United States’ motion, however,

neither specifies its concerns nor grounds its request in any basis in facts of this case. See

generally Pros’n’s Mot. for Protec. Order, 3 at ¶¶ 6-15. The closest the United States comes to

identifying a specific concern appears to be in Section 14, where it states that “[c]ertain

discovery materials in this case necessarily contain sensitive information related to a 19-year-old

victim, among other individuals.” Id. at ¶ 14. The United States follows this with, “[g]iven the

nature of the allegations against the defendant, namely, his alleged abusive sexual contact,

certain documents contain personal information about witnesses and/or others involved in the

investigation.” Id. The United States fails to elaborate on or specifically show what makes this

presumably otherwise-discoverable personal information sensitive enough to restrict Defendant

to viewing only under the supervision of his attorney. Id.

       The United States likewise argues that the goal is to protect the personal and identifying

information of the victim, witnesses and non-parties. See generally Pros’n’s Mot. for Protec.

Order, at ¶¶ 1-9. It cites 18 U.S.C. § 3771(e)(2)(A) and 18 U.S.C. §§ 3771(a)(1) and (8), and

the right of the victim to be “reasonably protected from the accused,” but does not present any

evidence to indicate any way in which the defendant is a continuing threat to the victim such that

the language in this Proposed Protective Order is necessary. Id.

       Outside of an unparticularized reference to “sensitive information” and “personal

information,” the United States’ argument for the issuance of the Proposed Protective Order in

this case relies primarily on an idea that protective orders are generally agreed upon in the



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Eastern District of Virginia, and that some protective orders with similar language have been

issued in other cases. See generally Pros’n’s Mot. for Protec. Order. Defendant would urge this

Court to reject that argument in favor of a case-specific, fact-based consideration of the

protective order as contemplated by FRCP 16(d)(1). Furthermore, not one of the cases referenced

by the United States involves similar charges to the instant case, and in all referenced cases, the

protective orders were grounded in specific fact-based arguments of good cause for the

restrictions by the United States. Defendant is reluctant to add to its lengthy response, but feels it

must take time to differentiate each case cited in the United States’ motion since the motion

relies quite heavily on this argument.

       In United States v. Jose Juan Jimenez, 1:18-CR-468-TSE (Dkt. Nos. 56 and 57), the facts

of the case involved drug distribution charges, multiple co-defendants, an ongoing drug

investigation, and informants. Upon speaking with counsel of record in that case, it appears that

the defendant in that case was incarcerated pending trial, alongside codefendents. None of the

concerns in the Jimenez case protective order considerations are applicable to the instant case.

       United States v. Jun Ho Choi, 1:18-MJ-511 (Dkt. No. 14) involved possession of child

pornography, and the protective order was extremely specific: its purpose was to protect minor

victims and minor witnesses, and providing that defendant copies of the discovery could violate

18 U.S.C. §§ 3509(d)(3), (m) (concerning the rights of child victims and witnesses) and would

violate FRCP 49.1(a) (requiring redaction of minor’s information). This protective order also

specifically identified the “sensitive information” to be protected and did not leave it to the

government to define as the case progressed. Id.

       In United States v. Workman, No. 1:18-cr-00020, 2019 WL 276843, at *1 (W.D. Va. Jan.

22, 2019), the government argued, in support of a protective order, that the discovery



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information included sensitive information “regarding confidential informants,” that “the

allegations against the defendant include sexual relationships with confidential informants,” and

that “the defendant ha[d] been charged by the grand jury in this case with destroying evidence,

obstructing justice, and tampering with witnesses, charges that may give rise to concerns about

his unsupervised possession of discovery materials.” Id. at *2. In its review for clear error, the

court based its affirmation of the decision to deny the defendant copies of the evidence on two

fact-based concerns. Id. First, the court noted that “there is probable cause to believe that [the

defendant] has intimidated a confidential informant and altered or destroyed records, making it

appropriate to limit his unsupervised access to discovery materials.” Id. As a secondary matter,

the court also found that “the discovery materials contain personal information about sexual

relationships, information about which witnesses may be especially vulnerable to intimidation.”

Id. There is no similar allegation in the instant case, either of evidence-related bad acts on the

part of the Defendant, or a particular basis for witness intimidation.

       Finally, in United States v. Barbeito, Criminal Action No. 2:09-cr-00222, 2009 WL

3645063, at *1 (S.D.W. Va. Oct. 30, 2009), the court found that there was good cause for the

issuance of a protective order in a complicated conspiracy case involving over 50 named

defendants and numerous confidential informants. Id. The court noted, in its decision, that “[t]he

risks presented to informants in this case are more than theoretical. There appear to be

allegations and evidence in the record already of efforts to harm informants by at least some of

the defendants in this case.” Id. (Emphasis added).




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       3. There are reasonable, less drastic alternatives than the language stated in the

Proposed Protective Order.



       Even if the Court finds that the United States has established fact-based reasons for the

protection of specific sensitive material in this case, the Court should only enter a Protective

Order where no less drastic alternatives are feasible, such as a memorandum of agreement

regarding the treatment of documents or redaction of sensitive or personal information. See e.g.

Deltek Sys. v. Kinetek Consulting, L.L.C., 2005 U.S. Dist. LEXIS 42520, *2. Before this Court

should reach any consideration of whether less drastic alternatives exist, however, the United

States must first present facts establishing what information they seek to conceal with a

Protective Order and why that information merits protection, as argued in the above-section

regarding the basis for a protective order.

       Although Defendant does not concede that a protective order is necessary in this case, it

is important to note that the Defendant is not seeking, and has never asked for, “unfettered

access” to all discovery material. The Defendant has no interest, for example, in retaining his

own copies of witness addresses or other specifically-identified sensitive information. Should

the United States produce an specific list of sensitive information it wishes to redact, and provide

Defendant with 1) a redacted copy to reference outside of the presence of counsel, and 2) an

unredacted copy to view only in the presence of counsel, Defendant would willingly agree to

sign a memorandum of understanding or agree to a specifically-written court order regarding the

use of such information. The Proposed Protective Order, however, is not specific and goes far

beyond the appropriate bounds of FRCP 16(d) given the evidence in this case and the basis laid

out by the United States. Defendant thus cannot agree to it as written.



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       While the United States’ motion notes many dissimilar cases in which a protective order

was either agreed upon or issued, it also noticeably does not direct the Court’s attention to a

single protective order from a similarly charged offense within the Eastern District of Virginia.

Defense Counsel’s firm, has, however, recently entered into a consent order on a similar issue in

the case of United States v. Isaac N. Gibbons, 1:18-CR-454-CMH (Dkt. No. 17) on December

20, 2018. Like Mr. Seryogin, the defendant in the Gibbons case was charged with Abusive

Sexual Contact, in violation of 18 U.S.C. § 2244(b). Unlike Mr. Seryogin, the defendant in

Gibbons was also charged with the more serious offenses of Aggravated Sexual Abuse by Force,

in violation of 18 U.S.C. § 2241(a), and one count of Sexual Abuse, in violation of 18 U.S.C. §

2242(1). Id. Notably, the consent order in that case specifies the information to be deemed

sensitive by the United States and does not include a prohibition on Defendant’s independent

review of discovery information. Id.



   4. The Proposed Protective Order, as written, would unreasonably interfere with the

Defendant’s ability to prepare and present a full defense at trial.



       Should this Court deem protective action appropriate in this case beyond redaction, the

Defendant would urge this Court to first consider less drastic alternatives to the Protective Order

as written. When considering whether less drastic alternatives exist, the Court must seek to

balance the sensitive nature of the information against the defendant’s Sixth Amendment right to

mount a proper defense. See United States v. Lindh, 198 F. Supp. 2d 739 (E.D. V.A. 2002). In

Lindh, the defendant was charged with a 10-count indictment of terrorism-related offenses, and

much of the discovery information involved matters of national security, specifically classified



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and unclassified information relating to a sensitive ongoing federal investigation. Id. Even in a

case with serious national security concerns forming a very solid basis of the protective order

request, the judge in Lindh still emphasized the importance of the inquiry into the balance

between the specific interests of the government and the defendant’s right to prepare and present

a full defense at trial, noting,

“Of course, courts should take care to ensure that the protection afforded to such
information is no broader than is necessary to accomplish the national security goals. In
this regard, courts should be sensitive to less restrictive alternatives available to achieve
this goal…[a]nd in determining whether to accord protection to certain materials, and the
extent of such protection, courts should weigh the impact this might have on a defendant's
due process right to prepare and present a full defense at trial.”
Id. at 741,742.

        In the instant case, the Proposed Protective Order does not distinguish which documents

or material would be considered “Protected Material,” and as written, would give the United

States nearly unlimited control over how he is able to prepare his defense. The Proposed Order

language would render Defendant unable to review not only the documents and discovery, but

also any of his own notes containing information about the protected documents without the

physical presence of counsel in the room. Given the distance between the Defendant’s residence

in Massachusetts and Defense Counsel in the Metropolitan DC Area, the prohibitive cost of

airline tickets and hotels would add additional limitations to Defendant’s ability to physically be

present in a room with counsel. Because of this distance, the majority of the trial preparation and

discovery review will likely need to be completed by phone or by video conferencing. During

these long-distance conversations, Defendant will need to refer to documents, statements, and

notes while discussing trial strategy and witness examination in order to ask questions and take

an active role in trial preparation. For example, there is reason to believe that certain witnesses in

this case gave multiple statements over the nine months between the incident and the charging


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date. Comparing, discussing, or addressing any potential inconsistencies in these statements will

be unreasonably difficult without the Defendant’s ability to compare the documents themselves

against his own memory of the incident during these conversations. A more reasonable approach

would be to allow Defendant copies of the appropriately redacted discovery documents outside

of the presence of his counsel.

       Of note, the Defendant has already been ordered by this Court not to contact the alleged

victim or any witness as a condition of his pretrial release on bond. See Dkt. Nos. 10,12.

Defendant has not made any attempts to contact any witnesses in this case. The Defendant’s

ability access to discovery documents to prepare his defense will not change his continued

respect for the Court’s Pretrial Order on this issue. Defendant would also like to emphasize that

he has never requested, and has no desire to review sensitive identifiers, such as witness

addresses or contact information, outside of the presence of his counsel. Defendant simply

requests the ability to reference discovery documents and notes while preparing for trial.



                                           Conclusion

       WHEREFORE, for the reasons discussed in this Response, the Defendant respectfully

asks this Court to DENY the United States’ Contested Motion for Entry of a Protective Order as

lacking a good cause basis in this case. Furthermore, if this Honorable Court deems it necessary

to have a hearing on this motion, Defendant would respectfully request that his appearance be

excused pursuant to Federal Rule of Criminal Procedure 43(b)(3).




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                                  Respectfully Submitted,

                                  Georgiy Seryogin, by counsel



                                         /s/           MMN

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                               CERTIFICATE OF SERVICE


I hereby certify that on May 16, 2019, I electronically filed the foregoing Response with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to
counsel of record.

                                                   /s/            MMN

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